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AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
Troyawn Jones                                                  )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-23-714-D
                                                               )
Account Resolution Services LLC                                )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Account Resolution Services LLC
c/o Corporation Service Company
10300 Greenbriar Place
Oklahoma City, OK 73159
         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:

Tiffany Hill, Esq.
PO Box 5302
Edmond, OK 73083
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                   4:21 pm, Aug 11, 2023




Signed and sealed by the Clerk of the Court or Deputy Clerk.
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 Civil Action No. CIV-23-714-D

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           ’ I returned the summons unexecuted because                                                                           ; or

           ’ Other (specify):
                                                                                                                                         .


           My fees are $                           for travel and $                 for services, for a total of $   0                   .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                                                                     Reset
